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                                No. 24-5220


           IN THE UNITED STATES COURT OF APPEALS
                   FOR THE SIXTH CIRCUIT


                         STATE OF TENNESSEE,
                                     Plaintiff-Appellant,

                                     v.

                  XAVIER BECERRA, in his official capacity as
Secretary of Health and Human Services; UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES; JESSICA S. MARCELLA, in her official
    capacity as Deputy Assistant Secretary for Population Affairs; OFFICE OF
                           POPULATION AFFAIRS,
                                             Defendants-Appellees.


               On Appeal from the United States District Court
                   for the Eastern District of Tennessee


                         BRIEF FOR APPELLEES


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               STATEMENT REGARDING ORAL ARGUMENT

      The district court denied Tennessee’s request for a preliminary injunction to

compel the Department of Health and Human Services to issue a discretionary grant

award despite Tennessee’s stated refusal to comply with program requirements. The

district court’s decision was based on settled precedents, including this Court’s recent

decision in Ohio v. Becerra, 87 F.4th 759 (6th Cir. 2023). The government does not

believe that oral argument is necessary but stands ready to present oral argument if

this Court would find it helpful.
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                                 INTRODUCTION

      Title X of the Public Health Service Act authorizes the Department of Health

and Human Services (HHS) to award discretionary grants to fund family-planning

services. In 2021, HHS promulgated a rule restoring regulatory requirements that had

been in effect for most of the program’s history. The rule requires that Title X

projects offer pregnant patients the opportunity to receive information and

nondirective counseling on all options, including abortion, followed by factual

information about where a service can be obtained if the patient requests that

information. In Ohio v. Becerra, 87 F.4th 759 (6th Cir. 2023), this Court held that HHS

acted reasonably and within the bounds of its statutory authority in restoring the

referral requirement. This Court thus affirmed the denial of a preliminary injunction

sought by several States to prevent its enforcement.

      The Tennessee Department of Health, a longstanding recipient of Title X

funds, accepted a Title X grant award in 2022. Like all Title X grants, Tennessee’s

grant was made expressly contingent on its project’s compliance with applicable

statutory and regulatory requirements, which included the 2021 rule’s counseling and

referral requirements. When Tennessee later refused to comply with those

requirements, HHS declined to issue a continuation award. The district court

correctly denied Tennessee’s request for a preliminary injunction to compel HHS to

award continued grant funds to Tennessee despite its stated refusal to comply with
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program requirements that this Court recently upheld. Neither the law nor the

equities support Tennessee’s extraordinary request.

                       STATEMENT OF JURISDICTION

      Tennessee invoked the district court’s jurisdiction under 28 U.S.C. § 1331. See

Compl., R. 1, PageID#5. The district court denied a preliminary injunction on March

11, 2024. See Order, R. 30, PageID#857. Tennessee filed a timely notice of appeal on

the same day. This Court has jurisdiction under 28 U.S.C. § 1292(a)(1).

                         STATEMENT OF THE ISSUE

      Whether the district court correctly denied a preliminary injunction where

Tennessee has no likelihood of success on the merits of its claims that HHS violated

the Administrative Procedure Act (APA) or the Constitution in declining to award

Tennessee discretionary grant funds after Tennessee refused to comply with the

regulatory requirements governing the program, and where the balance of the equities

and the public interest do not favor an injunction that would shift grant funds away

from projects that continue to comply with program requirements.

                          STATEMENT OF THE CASE

      A.     Title X
      In 1970, Congress enacted Title X of the Public Health Service Act to make

“comprehensive voluntary family planning services readily available to all persons

desiring such services.” Pub. L. No. 91-572, § 2(1), 84 Stat. 1504, 1504 (1970). The

Act authorizes HHS to “make grants to and enter into contracts with public or

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nonprofit private entities to assist in the establishment and operation of voluntary

family planning projects which shall offer a broad range of acceptable and effective

family planning methods and services.” 42 U.S.C. § 300(a). Grants “shall be made in

accordance with such regulations as the Secretary may promulgate,” id. § 300a-4(a),

and “shall be payable . . . subject to such conditions as the Secretary may determine to

be appropriate to assure that such grants will be effectively utilized for the purposes

for which made,” id. § 300a-4(b). Section 1008 of the Act provides that “[n]one of

the funds appropriated . . . shall be used in programs where abortion is a method of

family planning.” Id. § 300a-6.

      B.     Regulatory History

      For much of the Title X program’s history, HHS has required—as it does

now—that Title X projects offer pregnant patients the choice to be provided

information and “nondirective ‘options counseling’” about “prenatal care,” “adoption

and foster care,” and “pregnancy termination (abortion),” “followed by referral for

[any of] these services if [the patient] so requests.” 53 Fed. Reg. 2922, 2923 (Feb. 2,

1988) (describing prior agency opinions); see 42 C.F.R. § 59.5(a)(5) (current regulation).

Consistent with Section 1008, HHS has explained that a Title X project may not

“promote[] abortion or encourage[] persons to obtain abortion, although the project

may provide patients with complete factual information about all medical options.”

65 Fed. Reg. 41,281, 41,282 (July 3, 2000). Any referral for an abortion may consist of

“relevant factual information” such as “the name, address [and] telephone number” of
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a provider, but Title X projects may not take “further affirmative action (such as

negotiating a fee reduction, making an appointment, providing transportation) to

secure abortion services for the patient.” Id.

       On two occasions over the course of the program, HHS has placed further

restrictions on the type of counseling and referrals that Title X grantees may provide.

First, in 1988, the agency issued a rule that “prohibited” grantees from discussing or

referring for abortions. See 86 Fed. Reg. 19,812, 19,813 (Apr. 15, 2021) (describing

1988 rule). Although the Supreme Court upheld the 1988 rule as a “permissible

construction” of the statute in light of the “broad directives provided by Congress in

Title X,” Rust v. Sullivan, 500 U.S. 173, 184-90 (1991), the rule was “never

implemented on a nationwide basis,” 65 Fed. Reg. 41,270, 41,271 (July 3, 2000). The

agency issued an interim rule in 1993 that suspended the 1988 rule and reverted back

to the pre-1988 compliance standards. 58 Fed. Reg. 7462 (Feb. 5, 1993). The agency

issued a final rule in 2000, whose regulatory requirements—including the requirement

for nondirective options counseling and a referral for any options the patient

requested—remained in effect until 2019. See 65 Fed. Reg. at 41,271.

       Second, in 2019, HHS “essentially revive[d]” the 1988 rule through a new final

rule that significantly constrained the ability of Title X projects to provide pregnancy

options counseling and prohibited Title X projects from referring for abortion. See

Mayor of Baltimore v. Azar, 973 F.3d 258, 271 (4th Cir. 2020) (en banc); 84 Fed. Reg.

7714 (Mar. 4, 2019). The Ninth Circuit upheld the rule’s restrictions, California ex rel.
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Becerra v. Azar, 950 F.3d 1067, 1101-04 (9th Cir. 2020) (en banc), while the Fourth

Circuit enjoined their operation in the State of Maryland, see Mayor of Baltimore, 973

F.3d at 276-81, 283-90, 296. The Supreme Court granted certiorari but dismissed the

case in light of HHS’s intent to engage in new rulemaking. See Becerra v. Mayor of

Baltimore, 141 S. Ct. 2170 (2021).

      In October 2021, HHS promulgated a final rule—which remains in effect

today—revoking the 2019 rule’s restrictions and again restoring the counseling and

referral requirements that have governed grantees “for much of the program’s

history.” See 86 Fed. Reg. 56,144, 56,150 (Oct. 7, 2021). HHS determined that the

2019 rule’s restrictions on counseling and referrals had “interfered with the patient-

provider relationship and compromised [grantees’] ability to provide quality healthcare

to all clients,” id. at 56,146; and had “shifted the Title X program away from its history

of providing client-centered quality family planning services,” id. at 56,148. HHS

explained that “offering pregnant clients the opportunity to receive neutral, factual

information and nondirective counseling on all pregnancy options—and providing

referral upon request for option(s) the client wishes to receive—are critical for the

delivery of quality, client-centered care,” and that restoring the nondirective

counseling and referral requirements enables “healthcare providers to offer complete

and medically accurate information and counseling to their clients.” See id. at 56,154.

      The 2021 rule reemphasized that a referral for an abortion “may include

providing a patient with the name, address, telephone number, and other relevant
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factual information” about a medical provider, but that a Title X project “may not

take further affirmative action (such as negotiating a fee reduction, making an

appointment, providing transportation) to secure abortion services for the patient.”

86 Fed. Reg. at 56,150 (quotation marks omitted). HHS further explained that, in

accordance with federal conscience statutes, individuals and entities that are covered

by federal conscience laws and that have a conscience objection “will not be required

to counsel or refer for abortions in the Title X program in accordance with applicable

federal law.” Id. at 56,153.

       Following the 2021 rule’s promulgation, several States brought suit and sought

a preliminary injunction against its enforcement, arguing (as relevant here) that the

requirement to refer for an abortion upon a patient’s request violates Section 1008

and is arbitrary and capricious. See Ohio v. Becerra, 87 F.4th 759, 767-68 (6th Cir. 2023).

This Court affirmed the denial of a preliminary injunction with respect to the referral

requirement, explaining that the requirement is based on a permissible construction of

the statute and that HHS adequately explained its decision to restore the requirement.

See id. at 771-75.1




       1
        The Ohio litigation also involved another provision of the 2021 rule not at
issue here. See Ohio, 87 F.4th at 784.
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       C.         Tennessee’s Title X Grant and HHS’s Decision to Not Issue
                  a Continuation Award
       1. HHS’s regulations afford broad discretion to allocate congressionally

appropriated Title X grant funds among competing applicants. See 42 C.F.R. §§ 59.7,

59.8. In general, Title X grants are initially made for a one-year period, and HHS may

issue further “continuation awards” that, although funded one year at a time, allow

the recipient to receive continued support beyond the initial one-year period (typically

for three to five years) without having to reenter the competitive funding process. See

id. § 59.8(a), (b). Recipients of Title X grants must submit a new application each year

to receive continued funding, and decisions regarding continuation awards and the

funding level of such an award are made after considering several factors, including

“that continued funding is in the best interest of the government.” Id. § 59.8(b).

Neither “the approval of any application nor the award of any grant commits or

obligates the United States in any way to make any additional, supplemental,

continuation, or other award with respect to any approved application or portion of

an approved application.” Id. § 59.8(c). Awarded Title X funds must be spent for the

purpose for which they were granted and in accordance with applicable regulations.

See id. § 59.9.

       2. The Tennessee Department of Health has been a longstanding recipient of

Title X grants, including during the years in which HHS regulations have required

Title X projects to offer nondirective options counseling and referrals for abortion

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upon a patient’s request. See Goodwin Decl., R. 1-4, PageID#102 (“Since 1972,

Tennessee’s Department of Health has received Title X grants to run its Title X

program . . . .”); supra pp. 3-5.

       In March 2022, HHS awarded the Tennessee Department of Health a Title X

grant for the period April 1, 2022, through March 31, 2023. See 2022 Notice of

Award, R. 1-7, PageID#170. The award explained, consistent with HHS’s grant

regulations, that Title X funding is provided one year at a time based on an annual

application and Tennessee’s continued compliance “with the requirements regarding

the provision of family planning services that can be found in the statute . . . and the

implementing regulations.” See id., PageID#170-73; see also id., PageID#184-85

(reiterating federal grantee requirements, including that grantees must provide

quarterly financial and annual progress reports and submit to an annual audit).

Compliance with HHS’s regulations—including the counseling and referral

requirements—was therefore a condition of Tennessee’s Title X grant award.

       3. In June 2022, the Supreme Court issued its decision in Dobbs v. Jackson

Women’s Health Organization, 597 U.S. 215 (2022), which overturned prior precedent

recognizing a constitutional right to abortion. Following that decision, HHS

reminded Title X grantees that the counseling and referral requirements remained in

effect. See HHS Q&A, R. 1-6, PageID#164. HHS thus reiterated that Title X

projects are required to offer pregnant patients nondirective options counseling and a

referral upon the patient’s request, including for abortion. Id. HHS made clear that
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Title X does not have geographic limitations, and thus projects may make out-of-state

referrals. Id., PageID#165. HHS again emphasized that any referral for an abortion

may include “relevant factual information” such as the name, address, and telephone

number of a provider, but that Title X projects “may not take further affirmative

action . . . to secure abortion services for the patient.” Id. (citing 65 Fed. Reg. at

41,281).

       4. In January 2023, HHS notified grantees that it was “conducting a review of

all Title X service grants to ensure compliance with the requirements for nondirective

options counseling and referral” set forth in the agency’s regulations. See Jan. 25,

2023 Letter, R. 1-8, PageID#187. HHS requested that each grantee submit its policy

for providing nondirective options counseling and referrals and a signed statement

confirming compliance with those regulations. See id.

       Except for the Tennessee Department of Health and a state entity in

Oklahoma, all state Title X grantees confirmed their compliance with the counseling

and referral requirements. See Office of Population Affairs, HHS, Fiscal Year 2023

Title X Service Grant Awards, https://opa.hhs.gov/grant-programs/title-x-service-

grants/current-title-x-service-grantees/fy2023-title-X-service-grant-awards (last visited

April 26, 2024).2 In response to HHS, Tennessee submitted a short letter attaching its


       When the Oklahoma state entity refused to comply with HHS’s regulations,
       2

HHS terminated its grant funding. Oklahoma challenged that decision on similar
grounds to those raised by Tennessee here, and a district court denied Oklahoma’s
                                                                           Continued on next page.
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current policy, which stated that Title X “[p]atients with positive pregnancy test[s]

must be offered the opportunity to be provided information and counseling regarding

all options that are legal in the State of Tennessee.” See Feb. 13, 2023 Letter, R. 1-3,

PageID#98-99. Tennessee did not elaborate but seemed to be referencing a state law

that had recently taken effect restricting abortion in the State. See Tenn. Code Ann.

§ 39-15-213.

      HHS notified Tennessee that its response appeared to place it out of

compliance with applicable Title X regulations. See Mar. 1, 2023 Letter, R. 1-9,

PageID#189-90. HHS explained that it was “committed to working with grantees to

ensure compliance with the” program requirements, and it allowed Tennessee an

opportunity to submit further information. Id., PageID#190. HHS also offered

Tennessee the option of submitting an “alternate compliance proposal” with specific

examples of acceptable arrangements, including that Tennessee could satisfy the

counseling and referral requirements by providing Title X patients the number for a

call-in hotline where operators would supply the requisite information. See id.

      Tennessee’s short final response expressed its belief that its Title X project

could comply with HHS’s regulations by offering pregnant patients counseling and

referrals for “pregnancy termination” that, under state law, would not be considered



motion for a preliminary injunction. See Order, Oklahoma v. HHS, No. 5:23-cv-01052-
HE (W.D. Okla. Mar. 26, 2024), Dkt. No. 36. Oklahoma’s appeal is on an expedited
briefing schedule in the Tenth Circuit. See Oklahoma v. HHS, No. 24-6063 (10th Cir.).
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an “abortion.” See Mar. 13, 2023 Letter, R. 1-10, PageID#192 (citing Tenn. Code

Ann. § 39-15-213(a)(1)). After receiving Tennessee’s submission, HHS decided not to

issue a Title X continuation award to the Tennessee Department of Health. HHS

explained that, based on Tennessee’s submissions, Tennessee’s Title X project was

“not in compliance with the Title X regulatory requirements and, therefore, the terms

and conditions of [its] grant.” See Mar. 20, 2023 Letter, R. 1-11, PageID#195. HHS

noted that the applicable regulations require that Title X projects provide

“nondirective options counseling and referrals” upon client request, including for

abortion. See id. Based on its determination that Tennessee’s Title X project was “not

in compliance with the Title X regulation,” HHS concluded that a continuation award

was not “in the best interest of the government.” See 2023 Notice of Award, R. 1-12,

PageID#198 (quoting 42 C.F.R. § 59.8(b)).

       D.     This Lawsuit
       1. Tennessee filed this suit and moved for a preliminary injunction, seeking to

“reinstate” its Title X funding. Compl., R. 1-1, PageID#31; see PI Mot., R. 21,

PageID#299. The district court denied a preliminary injunction, concluding that

Tennessee “has no chance of success on the merits” and that the balance of the

equities and the public interest do not favor relief. Order, R. 30, PageID#851, 856.

       The district court held that Tennessee failed to establish a likelihood of success

on its challenge to HHS’s decision under the APA. The court explained that, in Ohio

v. Becerra, this Court “held that HHS acted within its [statutory] authority by issuing its
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2021 Rule requiring Title X grantees to counsel and refer for abortions” and that

Tennessee had failed to comply with those requirements. Order, R. 30, PageID#833.

The court emphasized that there has “been no changes to Title X” or the underlying

regulations since this Court’s decision and that Tennessee’s arguments sought to

“relitigat[e] binding precedent.” Id., PageID#833 & n.10. The court further rejected

Tennessee’s claim that HHS violated its regulations in denying a continuation award,

explaining that Tennessee’s arguments rested on “plainly unreasonable”

interpretations of the regulations. Id., PageID#839.

      The district court also disagreed with Tennessee’s arguments that HHS was

arbitrary and capricious in denying a continuation award. The court found that HHS

had “reasonably explained the basis for its decision”—specifically, HHS declined to

issue a continuation award after it determined that Tennessee’s Title X project was

out of compliance with the counseling and referral requirements, HHS informed

Tennessee of its noncompliance, and Tennessee “refused to change its policy.” See

Order, R. 30, PageID#843. The court highlighted that HHS has consistently

maintained that its regulations require grantees to offer nondirective options

counseling and referral for abortion upon a patient’s request and that “HHS has never

suggested that this requirement could be modified by a state’s abortion laws.” Id.,

PageID#844. “In finding that Tennessee was not complying with the 2021 rule’s

abortion counseling and referral requirements, HHS continued to apply this same

interpretation.” Id., PageID#845. For many of the same reasons, the court
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determined that HHS considered relevant factors in making its funding decision and

that HHS’s decision was not procedurally invalid. Id., PageID#847-48.

       The district court also rejected Tennessee’s reliance on principles limiting

Congress’s power under the Spending Clause. The court recognized that “Congress

has broad power under the Spending Clause of the Constitution to set the terms on

which it disburses federal funds.” Order, R. 30, PageID#827 (quoting Cummings v.

Premier Rehab Keller, P.L.L.C., 596 U.S. 212, 216 (2022)). In the Title X statute,

“Congress made compliance with HHS regulations a clear and unambiguous

condition of receiving a Title X grant.” Id., PageID#828. The court rejected

Tennessee’s argument that “Congress cannot make compliance with agency

regulations a condition of receiving a federal grant,” explaining that it is

“commonplace for Congress to” do so. Id., PageID#830. The court emphasized that

Tennessee “knew” when it applied for and accepted its grant that “it was required to

comply with HHS regulations” governing the grant, including HHS’s regulation

requiring nondirective options counseling and referral, which was “in place at the

time.” Id., PageID#829. The court thus found no Spending Clause concern.

       The district court briefly discussed the remaining preliminary injunction factors

and determined that they did not favor Tennessee. The court emphasized that the

bulk of Tennessee’s claimed harms are speculative or nonexistent, and concluded that

Tennessee’s loss of “a very small fraction of the Federal funding that” its Department

of Health receives does not outweigh the harm to the government’s and the public’s
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interest that would result from requiring HHS to allocate competitive grant funds to

an entity that has refused to comply with program requirements. See Order, R. 30,

PageID#851-56. The court concluded that Tennessee “has no basis to force funding

from HHS without meeting the obligations upon which the funding is conditioned.”

Id., PageID#857.

       2. After the district court denied a preliminary injunction, HHS agreed to an

expedited briefing schedule and to voluntarily reserve Title X funding on a temporary

basis in order to permit this Court sufficient time to consider Tennessee’s appeal

while also allowing HHS sufficient time to obligate funds before the end of the fiscal

year. The parties have requested a decision on this matter by mid-July 2024.

                            SUMMARY OF ARGUMENT

       I. The district court correctly held that Tennessee has no likelihood of success

on the merits of its claims.

       A. The district court correctly rejected Tennessee’s APA claims. Tennessee’s

statutory-authority argument seeks to rehash arguments that were considered and

rejected in Ohio v. Becerra, 87 F.4th 759 (6th Cir. 2023). This Court held in Ohio that

HHS may require Title X projects to offer pregnant patients the opportunity to

receive nondirective options counseling, including about abortion, followed by a

referral upon a patient’s request. Id. at 770-72. HHS did not exceed its statutory

authority in applying its valid regulation by its terms to deny a Title X continuation


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award where Tennessee refused to comply with those requirements. Tennessee’s

strained interpretations of other HHS regulations do not suggest a different result.

      Tennessee’s arbitrary-and-capricious arguments fare no better. This Court has

recognized the “rational reasons” that underlie HHS’s decision to require Title X

projects to offer neutral, factual information to pregnant patients. Ohio, 87 F.4th at

775. At bottom, Tennessee would like HHS to revisit its counseling and referral

requirements in light of the Supreme Court’s decision in Dobbs and changing state

abortion laws. The “proper procedure” for raising such arguments, however, is not

an arbitrary-and-capricious claim in this posture but rather “a petition to the agency

for rulemaking.” Auer v. Robbins, 519 U.S. 452, 459 (1997). In any event, Tennessee

provides no basis for setting aside HHS’s reasoned decision to not issue a

continuation award to an entity that has refused to comply with program

requirements. And contrary to Tennessee’s contentions, HHS has not applied any

new interpretation of the counseling and referral requirements to Tennessee.

      B. The district court also correctly rejected Tennessee’s reliance on the clear-

statement requirement for conditions on federal funds enacted under the Spending

Clause. Congress has authorized HHS to make grants to public and nonprofit entities

for the establishment of family-planning projects and has annually appropriated funds

for the program. The Title X statute makes clear that such grants are subject to

HHS’s regulations. 42 U.S.C. § 300a-4(a)-(b). Tennessee has applied for and accepted

Title X grants for 50 years without suggesting any lack of clarity that compliance with
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HHS regulations is a condition of its grant. Tennessee’s assertion that Spending

Clause doctrine requires that Congress set out in the statute every requirement of the

Title X program in order for the requirement to be enforceable cannot be squared

with Supreme Court precedent, including the Supreme Court’s recent decision

upholding conditions on the Medicare and Medicaid programs in Biden v. Missouri, 595

U.S. 87 (2022) (per curiam).

       II. Tennessee likewise cannot establish that the remaining equitable factors

favor relief. Any harm to the Tennessee Department of Health from the loss of

discretionary grant funds cannot outweigh the balance of the equities and the public

interest, which strongly counsel against an injunction that would require HHS to

award competitive grant funds to an entity that will not comply with HHS’s

requirements. This Court has held that HHS lawfully issued the counseling and

referral requirements and that HHS reasonably determined that those requirements

are “critical for the delivery of quality, client-centered care.” Ohio, 87 F.4th at 772-73

(quoting 86 Fed. Reg. at 56,154). It would flout the government’s and the public’s

interest to require HHS to continue to award Title X funds to an entity that will not

offer Title X patients the neutral and factual information the regulations require,

particularly given that nonprofit providers have stepped in to offer Title X services in

Tennessee’s stead.




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                               STANDARD OF REVIEW

       This Court “review[s] a district court’s denial of a request for a preliminary

injunction for abuse of discretion.” Certified Restoration Dry Cleaning Network, L.L.C. v.

Tenke Corp., 511 F.3d 535, 540 (6th Cir. 2007).

                                       ARGUMENT

       A preliminary injunction is an “extraordinary remedy that may only be awarded

upon a clear showing that the plaintiff is entitled to such relief.” Winter v. Natural Res.

Def. Council, Inc., 555 U.S. 7, 22 (2008). A plaintiff “must establish that [it] is likely to

succeed on the merits, that [it] is likely to suffer irreparable harm in the absence of

preliminary relief, that the balance of equities tips in [its] favor, and that an injunction

is in the public interest.” Id. at 20. The district court properly determined that

Tennessee has not satisfied these requirements.

I.     Tennessee Has Not Demonstrated a Likelihood of Success on the
       Merits

       A.     Tennessee Is Unlikely to Succeed on Its APA Claims

              1.      HHS Acted Well Within Its Statutory Authority in
                      Declining to Issue a Title X Continuation Award to
                      Tennessee

       a. Title X establishes a competitive grant program for the establishment of

family-planning projects and requires that all Title X projects comply with program

requirements set forth in agency regulations. See 42 U.S.C. § 300(a); id. § 300a-4(a). In

2021, HHS promulgated a final rule that restored the counseling and referral


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requirements that have governed Title X projects “for much of the program’s

history.” 86 Fed. Reg. at 56,150. Under the rule, Title X projects must provide, upon

a pregnant patient’s request, “neutral, factual information and nondirective

counseling” on “[p]rental care and delivery,” “[i]nfant care, foster care, or adoption,”

and “[p]regnancy termination,” and must also provide a referral for any of those

options if the patient so requests. Id. at 56,179; see 42 C.F.R. § 59.5(a)(5). Any referral

for an abortion may consist only of “relevant factual information” such as “the name,

address, [and] telephone number” of an abortion provider. 86 Fed. Reg. at 56,160

(quoting 65 Fed. Reg. at 41,281). A Title X project may not take “further affirmative

action (such as negotiating a fee reduction, making an appointment, providing

transportation) to secure abortion services for the patient.” Id. (quoting 65 Fed. Reg.

at 41,281).

       In Ohio v. Becerra, this Court held that the referral requirement is based on a

permissible construction of the Title X statute. 87 F.4th 759, 771-72 (6th Cir. 2023).

This Court rejected the argument, presented by several States, that the referral

requirement violates Section 1008’s prohibition on Title X funds being “used in

programs where abortion is a method of family planning,” 42 U.S.C. § 300a-6.

Relying on the Supreme Court’s decision in Rust v. Sullivan, 500 U.S. 173, 184-90

(1991), this Court explained that Section 1008 does not directly address whether a

provider can supply neutral, factual information about abortion services, and “it must

be permissible for an administration to treat referrals either as falling inside or outside
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§ 1008’s prohibition, so long as [HHS] adequately explains its choice.” Ohio, 87 F.4th

at 772. The Court held that HHS had adequately explained its decision in the 2021

rule. See id. at 772-75.

       HHS’s 2021 rule was in place when Tennessee applied for and accepted its

Title X grant award, and Tennessee’s grant (like all Title X grants) was made expressly

contingent on the project’s compliance with applicable regulations. See 2022 Notice

of Award, R. 1-7, PageID#173. When Tennessee refused to bring its Title X project

into compliance with the counseling and referral requirements, HHS determined not

to issue Tennessee a continuation award. See 2023 Notice of Award, R. 1-12,

PageID#198. This Court upheld the underlying regulation in Ohio, and HHS acted

well within its statutory authority in applying that regulation to deny continued Title X

funding to an entity that has declined to follow the regulation’s requirements.

       b. Despite its assertions to the contrary, Tennessee’s arguments seek to

“relitigate” this Court’s decision in Ohio. See Br. 39 (quotation marks omitted). Ohio

squarely forecloses Tennessee’s contention that HHS violated Section 1008 in

declining a continuation award to Tennessee. See Br. 41; see also Ohio, 87 F.4th at 771-

72. Tennessee cannot escape Ohio’s holding by attempting to posit a difference

between an “as-applied” and a “facial challenge.” See Br. 39-40 (quotation marks

omitted). The relevant point is that HHS applied the referral requirement that this

Court “upheld.” See Br. 10.


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      Tennessee therefore errs in describing HHS’s decision as a “seismic policy

shift.” Br. 43. HHS has not applied any new interpretation of the Title X statute or

the implementing regulations to Tennessee. The 2021 rule unequivocally requires

Title X projects to offer pregnant patients the opportunity to be provided “neutral,

factual information” about options, including abortion, and “relevant factual

information” about where an abortion can be obtained if the patient requests such

information, consistent with “client-centered care.” See 86 Fed. Reg. at 56,160, 56,154

(quoting 65 Fed. Reg. at 41,281). The rule does not refer to or incorporate state law,

nor does it limit the required nondirective options counseling and referrals to

procedures available within a particular State. See 86 Fed. Reg. at 56,153-54; see also 42

C.F.R. § 59.5(a)(5). Thus, in June 2022, HHS reminded grantees of the rule’s

requirements, that Title X does not have “geographic limits,” and that projects may

provide referrals for services that are available out of state. See HHS Q&A, R. 1-16,

PageID#165. HHS reiterated the same requirements to Tennessee in declining to

issue a continuation award. See Mar. 1, 2023 Letter, R. 1-9, PageID#189-90; Mar. 20,

2023 Letter, R. 1-11, PageID#194-95.

      Tennessee’s assertion that the counseling and referral requirements “force” the

States to “participate in abortions,” Br. 42, is likewise incorrect and only underscores

the extent to which Tennessee seeks to relitigate Ohio. The plaintiff States in Ohio

similarly claimed that the rule’s referral requirement “force[s] the States to support

abortion by making referrals upon request,” Brief of Appellants at 53, Ohio v. Becerra,
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No. 21-4235 (6th Cir. Feb. 22, 2022), but this Court upheld the requirement against

the States’ challenge, see 87 F.4th at 771-72, 775, and Tennessee’s claim is no more

persuasive here. The rule requires that Title X projects offer pregnant patients

neutral, factual information about abortion. See Ohio, 87 F.4th at 772. Tennessee

agreed to comply with that requirement when it applied for and accepted its Title X

grant. But if Tennessee now does not wish to provide such information to Title X

patients about a service available out of state (or even to provide patients the number

for a call-in hotline where operators could provide such information, see supra p. 10),

Tennessee may “decline” the funds and not participate. See Rust, 500 U.S. at 199 n.5

(recognizing that entities are “in no way compelled to operate a Title X project; to

avoid the force of the regulations, [they] can simply decline the subsidy”); accord Agency

for Int’l Dev. v. Alliance for Open Soc’y Int’l Inc., 570 U.S. 205, 214 (2013). Tennessee

instead “wants to have its cake and eat it too; it wants the federal money but does not

want to comply with the federal conditions” that apply to the federal program. See

Order, R. 30, PageID#826. Tennessee does not get to pick and choose which

program requirements it prefers to follow.

       Tennessee’s reliance on other Title X provisions is similarly misplaced.

Tennessee cites federal conscience protections such as the Church Amendment, 42

U.S.C. § 300a-7. See Br. 42. As this Court explained in Ohio, the rule recognizes that

individuals and entities that have a conscience objection and that are covered by

federal conscience laws “will not be required to counsel or refer for abortions in the
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Title X program” in accordance with federal law. See 87 F.4th at 774 (quoting 86 Fed.

Reg. at 56,153). Tennessee’s attempt to conjure a conflict between those conscience

protections and the rule lacks merit.

      Tennessee fares no better in invoking 42 U.S.C. § 300(a), which requires that

Title X projects offer “a broad range of acceptable and effective family planning

methods and services (including natural family planning methods, infertility services,

and services for adolescents).” See Br. 42. The statutory phrase “acceptable and

effective” refers to whether the method or service being offered is medically suitable,

not—as Tennessee would have it (Br. 42)—to whether a method or service has been

deemed “acceptable” by a particular State. And in all events, HHS’s requirement that

Title X projects provide “complete and medically accurate information and

counseling” to pregnant patients, 86 Fed. Reg. at 56,164, does not conflict with

Tennessee state law—which does not purport to prohibit nondirective options

counseling or referrals for abortion, see Order, R. 30, PageID#840—let alone conflict

with 42 U.S.C. § 300(a) and “the broad directives provided by Congress in Title X,”

see Ohio, 87 F.4th at 771-72 (quoting Rust, 500 U.S. at 184).

             2.     HHS’s Decision Is Consistent with Its Regulations

      HHS’s decision rests on a straightforward application of its regulations to

Tennessee. See Mar. 20, 2023 Letter, R. 1-11, PageID#194-95. Tennessee’s

contention that HHS’s decision contradicts two regulatory provisions, Br. 44-47, is

premised on a “plainly unreasonable” interpretation of those provisions. See Order,
                                           22
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R. 30, PageID#839. And at a minimum, Tennessee’s arguments do not overcome the

deference owed to HHS’s interpretation of its own regulations. See Kisor v. Wilkie, 139

S. Ct. 2400, 2413-14 (2019).

       a. First, Tennessee relies (Br. 44-45) on 42 C.F.R. § 59.5(b)(6), which states

that Title X projects must “[p]rovide that family planning medical services will be

performed under the direction of a clinical services provider, with services offered

within their scope of practice and allowable under state law, and with special training

or experience in family planning.” As an initial matter, that regulatory provision has

no application here. As the district court explained, that provision addresses “who”

may direct a Title X program, not the types of services provided under Title X

programs. See Order, R. 30, PageID#840. HHS regulations previously required that

Title X services be “performed under the direction of a physician,” but HHS received

comments during its 2021 rulemaking that, in many States, “other healthcare

providers, including physician assistants and [advanced practice registered nurses] . . .

have authority to direct family planning programs.” See 86 Fed. Reg. at 56,163-64.

HHS thus agreed with commenters that it should expand its regulation to permit

those other providers to direct Title X projects where “allowable under state law.” Id.;

see 42 C.F.R. § 59.5(b)(6).

       Regardless, as the district court explained, Tennessee’s argument would fail

even if the phrase “allowable under state law” could be read out of context as

Tennessee suggests. See Br. 44-45. Tennessee law prohibits abortion, see Tenn. Code
                                            23
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Ann. § 39-15-213, but Tennessee’s prohibition “contains no language whatsoever

related to counseling or referral,” see Order, R. 30, PageID#840. Thus, there is no

indication that the nondirective options counseling and neutral information required

by the rule are not “allowable under state law” in Tennessee. See id.

      b. Second, Tennessee relies (Br. 45-47) on 42 C.F.R. § 59.5(b)(8), which

requires that Title X projects affirm that they will “[p]rovide for coordination and use

of referrals and linkages” with various health care providers. These “referrals and

linkages” should be with providers “who are in close physical proximity to the Title X

site, when feasible, in order to promote access to services and provide a seamless

continuum of care.” 42 C.F.R. § 59.5(b)(8). As the district court correctly recognized,

the phrase “when feasible” in this provision plainly modifies the requirement to refer

to providers “in close physical proximity to the Title X site,” and thus the regulation

requires that Title X projects refer patients to nearby healthcare providers “when it is

possible to do so,” but permits the referral to be made “to a provider father away”

where such close-in-proximity referrals are not possible. See Order, R. 30,

PageID#837-39 (quoting 42 C.F.R. § 59.5(b)(8)); 86 Fed. Reg. at 56,164 (agreeing

with commenters to add language to the regulations “to state that referrals are to be to

providers in close proximity to the Title X site when feasible”).

      The district court properly rejected Tennessee’s effort to distort the regulation’s

plain language to mean that any referral “must be” to a provider that is “in close

physical proximity to the Title X site.” Br. 45-46 (emphasis added; quotation marks
                                           24
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omitted). Tennessee cannot reconcile that interpretation with the text of the

regulation, and it would lead to absurd results, as the district court explained. See

Order, R. 30, PageID#837-39. For similar reasons, it is not plausible to read the

regulation, as Tennessee suggests, to mean that a Title X project may unilaterally

determine that referrals for abortions are not “feasible,” Br. 45-46, and thus

effectively “veto” the regulations’ specific requirement that projects offer nondirective

options counseling followed by a referral for any of the options the pregnant patient

requests, see Order, R. 30, PageID#838-39.3

             3.     HHS’s Decision Is Neither Arbitrary Nor Capricious

                    a. HHS Considered All Important Aspects of Its
                       Decision

      In Ohio, this Court held that HHS detailed the “rational reasons” supporting its

decision to reinstate the referral requirement, and as already explained, HHS’s

decision here was based on a straightforward application of that requirement to

Tennessee. See Ohio, 87 F.4th at 775. HHS did not act in an arbitrary and capricious

manner in applying its valid regulation in accordance with its terms.




      3
         On appeal, Tennessee does not appear to renew the argument raised in
district court that HHS’s regulations require only that Title X projects provide options
counseling and referrals for “pregnancy termination,” which Tennessee sought to
distinguish from “abortion.” See PI Mot., R. 21, PageID#322-33. The district court
thoroughly explained why that interpretation of HHS’s regulations is incorrect. See
Order, R. 30, PageID#835-37.
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       Tennessee claims that HHS failed to “grapple with the myriad problems

implicated” by its counseling and referral requirements now that Tennessee restricts

abortion in its state. See Br. 47-49. But as the district court recognized, Tennessee’s

arbitrary-and-capricious argument is, at bottom, a claim that HHS should “revisit” its

counseling and referral requirements “in light of the Dobbs decision” and state-law

changes. See Order, R. 30, PageID#842; see also Br. 47. Addressing a substantially

similar objection in Auer v. Robbins, 519 U.S. 452 (1997), the Supreme Court explained

that where a litigant’s objection is that the agency “failed to give adequate

consideration to whether it really ma[de] sense to apply” a rule “in the wake of” a

Supreme Court decision, the “proper procedure” for such an objection is “set forth

explicitly in the APA: a petition to the agency for rulemaking, denial of which must be

justified by a statement of reasons, and can be appealed to the courts.” Id. at 458-59

(citations omitted).

       Tennessee does not contend that it raised any of its arguments to the agency,

but in all events, it provides no basis to set aside HHS’s funding decision.

Tennessee’s apparent belief that a “key justification for the 2021 rule” is to facilitate

abortions, Br. 47, rests on a plain misstatement of the preamble. What the relevant

passage actually says is that HHS chose to restore the counseling and referral

requirements because the provision of “neutral, factual information” to pregnant

patients is “critical for the delivery of quality, client-centered care.” 86 Fed. Reg. at

56,150, 56,154; see Ohio, 87 F.4th at 773. Tennessee’s decision to limit access to
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abortion in its State does not “undercut[],” Br. 47, the importance of Title X projects

supplying “complete and medically accurate information and counseling” to pregnant

patients, see 86 Fed. Reg. at 56,163-64.

       For similar reasons, Tennessee errs in contending that HHS failed to consider

potential costs from out-of-state referrals. Br. 48. The 2021 rule allowed out-of-state

referrals, even before Dobbs. And none of Tennessee’s speculative costs (Br. 48)

provide a basis to “second guess[]” the agency’s reasoned policy judgment that it is

critically important to provide pregnant patients with neutral, factual information

about options. See Ohio, 87 F.4th at 775. Tennessee emphasizes purported costs to

Title X projects of having to “identify” which providers are able to offer abortion

services, see Br. 48, but that is not a new issue: Title X projects have always had to

keep track of which providers are able to offer services at the time of a referral

(whether for abortion or for other health services), and even before Dobbs, available

providers may have changed over time. Moreover, although Tennessee complains of

needing to “monitor[] state-by-state abortion laws,” Br. 48, HHS has explained that

Title X projects may use third parties, such as the All-Options Talkline, to provide

nondirective options counseling and referrals, see Mar. 1, 2023 Letter, R. 1-9,




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PageID#190.4 HHS offered such alternatives to Tennessee, see id., but Tennessee

declined to engage with the agency, see Mar. 13, 2023 Letter, R. 1-10, PageID#192.

      Tennessee’s assertion that HHS failed to “address the potential gaps in care”

that would be created by declining to issue Tennessee a continuation award, Br. 48-49,

similarly provides no basis to set aside the agency’s decision. Tennessee is not the

only Title X grantee or provider of family-planning services in the State, and non-

profit providers have stepped in to provide Title X services now that Tennessee has

refused to comply with HHS regulations. See Compl., R. 1, PageID#4; see also Office

of Population Affairs, HHS, Fiscal Year 2023 Title X Service Grant Awards. 5

Tennessee’s conjecture that HHS’s rule will drive States out of the program (Br. 49) is

likewise meritless. Only two state Title X grantees—Tennessee and Oklahoma—

refused to comply with the counseling and referral requirements. See supra p. 9. And

in all events, HHS acted reasonably in denying a continuation award to a grantee that

has failed to comply with applicable regulations.




      4
           Tennessee’s reference to “abortions by ‘telehealth’” or “mail-shipped”
abortion medications, Br. 48, is difficult to understand. HHS has been clear, both
before and after Dobbs, that Title X projects “are not allowed to provide abortion as a
method of family planning as part of the Title X project,” including “medication
abortion pills.” See HHS Q&A, R. 1-6, PageID#166. The telehealth alternatives
HHS suggested to Tennessee would provide the “nondirective options counseling”
and referrals required by the 2021 rule. See Mar. 1, 2023 Letter, R. 1-9, PageID#190;
see also All-Options, https://perma.cc/MEX8-TECX.
         5
           https://opa.hhs.gov/grant-programs/title-x-service-grants/current-title-x-
service-grantees/fy2023-title-X-service-grant-awards (last visited April 26, 2024).
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                       b. HHS Did Not Unlawfully Change Its Position

      Tennessee errs in asserting that HHS changed positions without explanation in

declining to grant a continuation award. See Br. 49. As already explained, the

counseling and referral requirements have been in place since 2021, before Tennessee

applied for and received Title X funds, and HHS has been consistent about what its

regulations require.

      Tennessee attempts to demonstrate that HHS unlawfully changed positions by

relying on a July 2022 program review of its Title X project. See July 2022 Program

Review, R. 1-1, PageID#33. But as HHS explained when it delivered that review to

Tennessee in October 2022, the review was based on Tennessee’s services “as of the

date of the Program Review.” See Oct. 19, 2022 Email, R. 1-2, PageID#96. At the

time, Tennessee’s post-Dobbs abortion restriction had not yet gone into effect. See

Tenn. Code Ann. § 39-15-213; see also Br. 50 (recognizing that “elective abortions”

became “unavailable” in Tennessee in “August 2022”). HHS’s review was thus

limited to Tennessee’s practices when the agency conducted its review, and at that

time, HHS found that Tennessee’s project sites were “allowed to provide resource

lists to clients seeking information on” abortion services, and that Tennessee’s policies

required “staff to offer clients with positive pregnancy tests all options counseling and

referrals upon request.” July 2022 Program Review, R. 1-1, PageID#90, 92.

      The July 2022 program review specifically contemplated a follow-up if

Tennessee changed its counseling and referral policies in response to the abortion
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restriction that was soon to take effect. The review noted that Tennessee’s forms and

policies were “under review by [Tennessee Department of Health] legal staff,” and

that a future decision was expected as to what project staff would be “allowed to

provide to or say to clients seeking pregnancy termination counseling and referral.”

See July 2022 Program Review, R. 1-1, PageID#92. Thus, when HHS delivered the

July 2022 review to Tennessee in October 2022, the agency requested an “update . . .

on the policy changes in response to the enactment of Tenn. Code Ann. § 39-15-213.”

See Oct. 19, 2022 Email, R. 1-2, PageID#96. As explained above, when Tennessee

confirmed that it was not in compliance with the requirements of the 2021 rule—and

refused to engage with any of HHS’s suggestions for alternative compliance

arrangements—HHS declined to issue a continuation award.

      HHS made no “unexplained position-switch.” Br. 51. In arguing otherwise,

Tennessee relies heavily on a sentence in the July 2022 program review stating that

“[n]o referrals for abortion are made.” See July 2022 Program Review, R. 1-1,

PageID#56. Although that sentence is not worded precisely, the district court

correctly recognized that the agency was confirming that Tennessee’s project

complied with the requirement that Title X projects not take affirmative steps in

providing a referral for an abortion, such as making appointments, arranging for

payment, or providing transportation. See Order, R. 30, PageID#846 n.16; see also July

2022 Program Review, R. 1-1, PageID#91 (confirming that Tennessee’s project does

not “provid[e] services that directly facilitate the use of abortion as a method of family
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planning”). It is not plausible to read that sentence to say that HHS signed off on a

project that was not offering any referrals for abortion in contravention of agency

regulations, see Br. 49-51, particularly when other sentences of the review confirm that

Tennessee’s Title X project was providing referrals at that time, see supra p. 28; see also,

e.g., July 2022 Program Review, R. 1-1, PageID#63 (noting that a project site had a

“comprehensive list of abortion providers in nearby states who provide abortion to

clients,” and recommending that such resources be made available “insofar as this

procedure will no longer be available in Tennessee”).

                     c. HHS Did Not Disregard Any Legally Cognizable
                        Reliance Interests

       Tennessee gains no ground by invoking the principle that an agency changing

positions must “be cognizant that longstanding policies may have ‘engendered serious

reliance interests.’” Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 222 (2016). For

the reasons already explained, in declining to grant a continuation award, HHS

adhered to the counseling and referral requirements in its regulations, which

Tennessee agreed to abide by in accepting its grant award. Moreover, Tennessee has

no legally cognizable reliance interest in the receipt of a discretionary funding award

on the conditions that it prefers. HHS’s regulations make clear that Title X grants

provide funding for one year (while sometimes providing HHS with the option of

issuing noncompetitive continuation grants for additional years), 42 C.F.R. § 59.8(b),

and that “[n]either the approval of any application nor the award of any grant

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commits or obligates the United States in any way to make any additional,

supplemental, continuation, or other award with respect to any approved application

or portion of an approved application,” id. § 59.8(c).

             4.     Notice-and-Comment Procedures Were Not Required

      Finally, Tennessee briefly argues that HHS was required to undertake notice-

and-comment rulemaking procedures in order to impose “new requirements” on

Tennessee’s Title X project. Br. 53. This argument, too, fails for the reasons already

explained. HHS has not imposed any new requirements on grantees but has rather

applied the plain language of its regulations to Tennessee. See Order, R. 30,

PageID#850 (“Tennessee has the same duties it always had under the Rule: to counsel

and refer for abortions upon a woman’s request.”).

      B.     Tennessee Is Unlikely to Succeed on its Spending Clause
             Arguments

      Tennessee’s invocation of Spending Clause doctrine similarly lacks merit. The

Spending Clause authorizes Congress to “lay and collect Taxes, . . . to pay the Debts

and provide for the common Defence and general Welfare of the United States.”

U.S. Const. art. I, § 8, cl. 1. Pursuant to that authority, Congress has “broad power”

to “set the terms on which it disburses federal funds.” Cummings v. Premier Rehab Keller,

P.L.L.C., 596 U.S. 212, 216 (2022). Congress has long “condition[ed] receipt of

federal moneys upon compliance by the recipient with federal statutory and




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administrative directives.” South Dakota v. Dole, 483 U.S. 203, 206 (1987) (quoting

Fullilove v. Klutznick, 448 U.S. 448, 474 (1980)).

       Title X is a straightforward exercise of Congress’s spending power. Congress

appropriates money every fiscal year to fund the Title X program. See, e.g.,

Consolidated Appropriations Act, 2023, Pub. L. No. 117-328, div. H, tit. II, 136 Stat.

4459, 4857 (2022) (providing over $286 million in funding). The statute authorizes

HHS to issue grants to public and nonprofit private entities for the establishment of

projects that offer voluntary family-planning services. See 42 U.S.C. § 300(a). And

Congress expressly provided that such grants shall “be made in accordance with such

regulations as the Secretary may promulgate,” id. § 300a-4(a), and that payment of the

grants is “subject to such conditions as the Secretary may determine to be appropriate

to assure that such grants will be effectively utilized for the purposes for which

made,” id. § 300a-4(b).

       Tennessee’s lengthy discussion of Spending Clause “first principles” (Br. 19-21)

and its assertion that HHS has “seize[d] congressional spending power” (Br. 23) are

therefore difficult to understand. Title X is just one among numerous “federal grant

programs requiring compliance with regulations as a condition of a grant.” Order, R.

30, PageID#831.6 The Supreme Court has long recognized that Congress may leave


       6
         See, e.g., 42 U.S.C. § 254b(k)(3)(N) (requiring health center grantees to “ensure
the appropriate use of Federal funds in compliance with applicable Federal statutes,
regulations, and the terms and conditions of the Federal award”); id. § 1793(f)(2)
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the particulars of implementing a spending program through “regulations” and “other

guidelines” to the agency charged with administering the program. Bennett v. Kentucky

Dep’t of Educ., 470 U.S. 656, 670 (1985). As with other spending programs, state

participation in Title X “is voluntary,” and the States retain the option of “forgoing

the benefits of federal funding” if they do not want to fulfill the program conditions.

See Pennhurst State Sch. & Hosp. v. Halderman, 451 U.S. 1, 11 (1981); see also Rust, 500

U.S. at 199 n.5.

       Tennessee misunderstands the authorities that it cites in seeking to wield the

Spending Clause to compel HHS to award it a discretionary grant without having to

comply with program requirements. Tennessee primarily relies on Pennhurst and cases

applying that decision. Those cases reflect the basic proposition that “legislation

enacted pursuant to the spending power is much in the nature of a contract,” where a

State must “voluntarily and knowingly accept[] the terms” attached to federal funding

for those terms to be enforceable. Pennhurst, 451 U.S. at 17. The cases thus articulate

a “federalism-based clear-statement rule . . . of statutory interpretation,” Kentucky v.

Yellen, 54 F.4th 325, 347 (6th Cir. 2022), which courts apply by declining to enforce

against grant recipients conditions that were not sufficiently apparent when the



(providing grants for school breakfast program that “shall be carried out in
accordance with applicable nutritional guidelines and regulations issued by the
Secretary”); 49 U.S.C. § 5309(c)(4) (stating that transit grants “shall be subject to all
terms, conditions, requirements, and provisions that the Secretary determines to be
necessary or appropriate”).
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recipient accepted the funding, see Pennhurst, 451 U.S. at 25 (explaining that Congress

may not “surpris[e] participating States with post acceptance or ‘retroactive’

conditions”). In Pennhurst, for example, the question was whether a federal statutory

provision stated a “mandatory” and enforceable condition at all, and the Court

determined as a matter of statutory construction that it did not. See id. at 15-27; see

also, e.g., Cummings, 596 U.S. at 219 (construing anti-discrimination statute not to

authorize an award of emotional-distress damages); Arlington Cent. Sch. Bd. of Educ. v.

Murphy, 548 U.S. 291, 293-94 (2006) (construing fee-shifting provision of the

Individuals with Disabilities Education Act not to apply to expert fees).

       Those cases do not aid Tennessee for several reasons. As an initial matter,

Tennessee does not confront the sort of predicament that animated Pennhurst and its

progeny: the need to construe supposedly ambiguous conditions to determine what

obligations it incurred by accepting a prior grant. Pennhurst, 451 U.S. at 7-8, 17;

Arlington Cent. School Dist. Bd. of Educ., 548 U.S. at 294-95. Tennessee is not

confronting an effort to recoup previously awarded grant funds, nor is it seeking to

avoid liability on the basis of prior grant conditions. Rather, Tennessee is claiming

entitlement to a continuation award from the limited pool of Title X funds that

Congress authorized HHS to apportion, and it is seeking to compel HHS to issue it

such an award. Pennhurst has no application in such a circumstance, and it provides no

basis to override HHS’s decision not to issue a discretionary continuation award to


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Tennessee based on its stated refusal to comply with the regulatory requirements

governing the program.

      Even if Pennhurst’s standard were relevant here, it is satisfied. Congress

“provid[ed] clear notice to the States that,” “by accepting funds” under Title X, they

would “be obligated to comply with” HHS regulations governing the program.

Pennhurst, 451 U.S. at 25. As explained above, the statute is explicit that Title X

“[g]rants and contracts” are subject to HHS’s “regulations” and “conditions.” 42

U.S.C. § 300a-4(a)-(b). Like all other Title X recipients, States are aware that once

they accept Title X funding, they must comply with the regulatory requirements set

forth by HHS, such as those in the 2021 rule. Tennessee has applied for and accepted

Title X funds for 50 years without suggesting any lack of clarity that compliance with

HHS regulations is a condition of its grant.

      Tennessee invokes (Br. 22) Section 1008’s prohibition on grant funds being

“used in programs where abortion is a method of family planning,” 42 U.S.C. § 300a-

6, but that provision is irrelevant to the Spending Clause analysis. HHS has not

sought to deny funding to Tennessee based on that prohibition, that prohibition is

not the basis for HHS’s rulemaking authority, and the existence of that prohibition

does not detract from Title X’s “unambiguous requirement that grantees abide by

HHS regulations.” Order, R. 30, PageID#830 n.6. Tennessee’s assertions that

Section 1008 precludes HHS from requiring that projects offer nondirective options

counseling and referrals for abortion (Br. 28) merely repackage Tennessee’s statutory-
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authority arguments, which are foreclosed for the reasons already explained. See supra

pp. 18-19.

      Tennessee’s suggestion that HHS “unveiled” its counseling and referral

requirements “long after Tennessee accepted its Title X grant,” Br. 29, likewise lacks

merit. As explained above, the 2021 rule was promulgated well before Tennessee

applied for and received its Title X grant in 2022, and the rule unambiguously requires

that Title X projects “provide neutral, factual information and nondirective

counseling” to pregnant patients, including on “pregnancy termination,” followed by a

“referral upon request.” 42 C.F.R. § 59.5(a)(5)(ii). Tennessee was undoubtedly aware

of those requirements—indeed, it commented during the 2021 rulemaking on HHS’s

proposal to reinstate them. See May 17, 2021 Letter from Ohio and 20 Other States

to Xavier Becerra, Secretary, HHS, at 2, 12-13 (May 17, 2021),

https://perma.cc/BT6W-ZMSH (objecting to the proposed requirement that projects

“counsel[] or refer[] on abortion”).

      Tennessee thus resorts to arguing that the Spending Clause requires that

Congress itself articulate every condition of the Title X program. See Br. 21, 23-25,

35-36. That argument cannot be squared with Supreme Court precedent, see supra pp.

33-34, including the Supreme Court’s recent decision in Biden v. Missouri, 595 U.S. 87

(2022) (per curiam). There, as here, the operative statute broadly “authorized the

[agency] to promulgate, as a condition of a facility’s participation in the [Medicare and

Medicaid] programs, such ‘requirements as [the agency] finds necessary in the interest
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of the health and safety of individuals who are furnished services in the institution.’”

Id. at 90 (quoting 42 U.S.C. § 1395x(e)(9)). And there, as here, States objected that

they could not be subjected to a spending condition that was not articulated in the

statute. See Response to Application for a Stay at 23-24, Missouri, 595 U.S. 87 (No.

21A240), 2021 WL 8946189, at *23-24; Response to Application for a Stay at 26-28,

Becerra v. Louisiana, No. 21A241, 2021 WL 8939385, at *26-28 (U.S. Dec. 30, 2021).

The Supreme Court disagreed, explaining that the agency has properly “established

long lists of detailed conditions with which facilities must comply to be eligible to

receive Medicare and Medicaid funds” and is not limited to issuing “bureaucratic rules

regarding the technical administration of” the programs. Missouri, 595 U.S. at 90, 94.

       None of the court of appeals decisions on which Tennessee relies is to the

contrary. In Kentucky and West Virginia, this Court and the Eleventh Circuit held that

a statutory funding condition placed on the States’ expenditure of COVID-19

stimulus funds was not “ascertainable.” See West Virginia ex rel. Morrisey v. U.S. Dep’t of

Treasury, 59 F.4th 1124, 1140 (11th Cir. 2023); Kentucky, 54 F.4th at 354. That holding

has no application here, where, as in Biden v. Missouri, the statutory condition is

perfectly clear. See 595 U.S. at 92-96. Both Kentucky and West Virginia properly

recognize that where Congress has articulated an ascertainable condition, agencies can

permissibly elaborate its content. See West Virginia, 59 F.4th at 1148 (“[W]e do not

question an agency’s authority to fill in gaps that may exist in a spending condition.”);

Kentucky, 54 F.4th at 353-54 (discussing prior cases that approve this practice). And as
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discussed above, this Court has already held that HHS acted within its statutory

authority in promulgating the referral requirement. Ohio, 87 F.4th at 770-72.

      Kentucky and West Virginia involved, moreover, a funding condition that

“arguably threatened a significant intrusion upon state taxing authority.” Kentucky,

54 F.4th at 329; see West Virginia, 59 F.4th at 1145 (expressing concern that “[t]he

States face[d] billions of dollars in potential recoupment actions” because the

condition was aimed “at each state’s entire budget and every single one of its taxes”).

HHS’s counseling and referral requirements present no comparable invasion of state

sovereignty. The requirements apply only to the family-planning projects that are

established by public and nonprofit entities with Title X funds; Tennessee has applied

for and accepted Title X funds for decades while those requirements have been in

place; and the requirements in no way interfere with Tennessee’s decision to restrict

abortion in its State. See Order, R. 30, PageID#855.

II.   The Remaining Preliminary Injunction Factors Do Not Favor
      Relief

      Because Tennessee has failed to establish a likelihood of success on the merits,

this Court need not consider the remaining preliminary injunction factors. See Tiger

Lily, LLC v. U.S. Dep’t of Hous. & Urban Dev.., 992 F.3d 518, 524 (6th Cir. 2021). The

district court correctly concluded, however, that Tennessee has likewise not

established that the remaining factors favor relief.




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      Tennessee emphasizes that HHS’s decision denies Tennessee approximately $7

million in Title X grant funds. Br. 54. Even putting aside that the funds at issue

represent “a very small fraction of the Federal funding that [the Tennessee

Department of Health] receives,” Order, R. 30, PageID#852, any such loss of federal

funding cannot outweigh the balance of the equities and the public interest, which

strongly counsel against the issuance of a preliminary injunction that would compel

HHS to issue a discretionary funding award to a grantee that has refused to comply

with program requirements. This Court has held that HHS lawfully issued the

counseling and referral requirements and that HHS reasonably determined that those

requirements are “critical for the delivery of quality, client-centered care.” Ohio, 87

F.4th at 773 (quoting 86 Fed. Reg. at 56,154). It would flout the government’s and

the public’s interest to require HHS to continue to award Title X funds to an entity

that will not offer Title X patients the “neutral, factual” information the regulations

require. See 86 Fed. Reg. at 56,154. Tennessee is not the only recipient of Title X

funds in the State, and non-profit providers have stepped in to provide services to

clients now that Tennessee has refused to comply with HHS regulations. Supra p. 28.

      Tennessee speculates that it will suffer reputational harm if HHS reports

Tennessee’s violation of its grant to the Federal Awardee Performance and Integrity

Information System. See Br. 56. HHS expressly informed Tennessee in making its

funding decision that it did “not intend to report any concerns regarding the award

to” that system. See May 30, 2023 Email, R. 1-17, PageID#213. Any suggestion that
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HHS is legally obligated to do so misreads the relevant regulations. The reporting

requirement applies only when HHS terminates a grant, 45 C.F.R. § 75.372(a)-(b), not

where, as here, HHS declines to issue a continuation award, 42 C.F.R. § 59.8(b). See

Mar. 20, 2023 Letter, R. 1-11, PageID#193; see also 2023 Notice of Award, R. 1-12,

PageID#198. Nor does Tennessee demonstrate that irreparable consequences are

likely or imminent even if its Department of Health were reported. See, e.g., 45 C.F.R.

§ 75.373(b)(3)-(5) (noting that HHS awarding agencies “consider” information in the

system as well as “comment[s]” from the reported entity in assessing qualifications for

a federal award).

       Tennessee also invokes its “sovereign interest” but offers no explanation of

how HHS is impairing its “sovereign decision about how to regulate abortions.” Br.

57. Tennessee willingly applied for and received Title X funding, and for the reasons

explained above, there is no conflict between HHS’s counseling and referral

requirements and Tennessee state law. To the extent that Tennessee no longer wants

to offer Title X clients the nondirective options counseling and referrals that it has

provided for decades without complaint, it is free to make that decision and forgo the

benefit of Title X funding. See Agency for Int’l Dev., 570 U.S. at 214.




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                                  CONCLUSION

      For the foregoing reasons, the order of the district court should be affirmed.

                                               Respectfully submitted,

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                       CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limit of Federal Rule of Appellate

Procedure 32(a)(7)(B) because it contains 10,219 words. This brief also complies with

the typeface and type-style requirements of Federal Rule of Appellate Procedure

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                                                 s/ Courtney L. Dixon
                                                Courtney L. Dixon
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                           CERTIFICATE OF SERVICE

      I hereby certify that on April 26, 2024, I electronically filed the foregoing brief

with the Clerk of the Court for the United States Court of Appeals for the Sixth

Circuit by using the appellate CM/ECF system.



                                                 s/ Courtney L. Dixon
                                                Courtney L. Dixon
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                        DESIGNATION OF RELEVANT
                        DISTRICT COURT DOCUMENTS

        Pursuant to Sixth Circuit Rule 28(b)(1)(A)(i), the government designates the

following district court documents as relevant:


 Record Entry            Description                            Page ID # Range

 RE 1                    Complaint                              1-32

 RE 1-1                  July 2022 Program Review               33-95

 RE 1-2                  October 19, 2022 Email                 96

 RE 1-3                  February 13, 2023 Letter               98-101

 RE 1-6                  HHS Q&A                                161-169

 RE 1-7                  2022 Notice of Award                   170-186

 RE 1-9                  March 1, 2023 Letter                   189-191

 RE 1-10                 March 13, 2023 Letter                  192

 RE 1-11                 March 20, 2023 Letter                  193-195

 RE 30                   Order Denying Prelim. Inj.             815-857
